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                     United States District Court
 ----------------------------------- DISTRICT OF SOUTH DAKOTA --------------------PI-r-ll~!:-';)
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                                          SOUTHERN DIVISION                         JUt   r c ;'
 UNITED STATES OF AMERICA,

                Plaintiff,                                     ORDER

        v.

 MICHELLE MUNOZ,

                Defendant.
                                                        CASE NUMBER: CR. 09-40029-22


        A hearing was held on July 9,2010, on the issue of any further pretrial release. Defendant

 appeared in person and by her counsel, Susan Sabers. The government appeared by its Assistant

 United States Attorney, John Haak.        Based on a review of the file herein and the information

 presented at the hearing, it is hereby

        ORDERED that the Order Setting Conditions of Release (Doc. 86) is revised and the

 following additional condition of release is imposed effective immediately:

        The defendant shall maintain residence at a halfway house or community corrections
        center, as the pretrial services office or supervising officer considers necessary.


        Dated this!l day of July, 2010.

                                                BY THE COURT:
